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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 16-cv-24314-GAYLES


  ERIC ROGERS,
                         Plaintiff,

                 v.

  N & D HOLDING, INC.,
                  Defendant.
                                                    /

                                      ORDER DISMISSING CASE

         THIS CAUSE comes before the Court on the parties’ Joint Stipulation to Approve

  Consent Decree and Dismiss Defendant With Prejudice [ECF No. 11]. The Court has carefully

  considered the joint stipulation and the Consent Decree (attached to the Joint Stipulation as

  Exhibit 1), and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED that the Joint Stipulation to Approve

  Consent Decree and Dismiss Defendant With Prejudice is GRANTED. The Consent Decree is

  APPROVED and Defendant N & D Holding, Inc., is DISMISSED WITH PREJUDICE. Each

  party shall bear its own attorney’s fees and costs, except as detailed in the Consent Decree. The

  Court shall retain jurisdiction to enforce the terms of the Consent Decree.

         This action is CLOSED and all pending motions are DENIED AS MOOT.

         DONE AND ORDERED in Chambers at Miami, Florida, this 11th day of January, 2017.




                                                ________________________________
                                                DARRIN P. GAYLES
                                                UNITED STATES DISTRICT JUDGE
